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                                                                    Relief requested without a hearing

                            UNITED STATES BANKRUPTCY COURT
                                      District of Maine


 In the matter of:
                                                           Chapter 13
 CHARLES PAPPAS                                            Case No. 18-20179

                                 Debtor(s)



                 TRUSTEE’S MOTION TO REQUIRE TAX COMPLIANCE
                           AND PROHIBIT EXTENSIONS

        NOW COMES the Standing Chapter 13 Trustee, Andrew M. Dudley, by and through his
undersigned staff attorney, and moves for an order of this honorable court to require the debtor(s) to
file any tax returns which were on extension as of the date of the bankruptcy filing and to prohibit the
debtor(s) from seeking or obtaining any extension to file tax returns during the term of the Chapter
13 case, except by express order of court after motion, notice and opportunity for hearing. The trustee
further seeks to require the debtors to pay all postpetition tax liabilities as they fall due. In support
whereof, the trustee says, that efficient administration of this Chapter 13 case requires any outstanding
tax returns to be filed within 30 days, that all tax returns required to be filed during the pendency of
this case be filed by the first applicable statutory and regulatory deadlines, and that postpetition tax
obligations be met as they fall due.

                                                        /s/ William H. Sandstead
Date: April 6, 2018                                     ____________________________________
                                                        WILLIAM H. SANDSTEAD
                                                        ANDREW M. DUDLEY, Trustee
                                                        Standing Chapter 13 Trustee
                                                        P.O. Box 429
                                                        Brunswick, ME 04011-0429
                                                        (207) 725-1300
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                                  CERTIFICATE OF SERVICE
                                FOR ELECTRONIC CASE FILING

      I, William H. Sandstead, hereby certify that I caused a true and correct copy of the following
document(s) to be served today on the parties listed below as follows:

Document(s) served: Trustee’s motion filed herewith

Service electronically via the Court’s ECF system to:
Jeffrey White, Esq., Debtor’s Counsel
Stephen Morrell, Esq., Assistant U.S. Trustee
All other parties listed on N.E.F. as being served electronically.

Service by U.S. first class mail, postage prepaid, to:

Charles Pappas
66 Medawisla Road
Roxbury, ME 04275

State of Maine
Bureau of Revenue Services
Attn: Paula Thomas
24 State House Station
Augusta, ME 04333-0024

Internal Revenue Service
Attn: Diane Fredette
Special Procedures
68 Sewall Street, Room 311
Augusta, ME 04330

                                                          /s/ William H. Sandstead
Date: April 6, 2018                                       ____________________________________
                                                          WILLIAM H. SANDSTEAD
